                            Case 17-14149-EPK        Doc 59        Filed 09/25/17    Page 1 of 2




                  UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                            CHAPTER 13 PLAN (Individual Adjustment of Debts)
                      2nd      Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                              Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: Rocke Andre Evans                                                           CASE NO.: 17-14149-EPK
Last Four Digits of SS#: 9783

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for the period of 60 months. In the event the trustee does not collect the full
10%, any portion not collected will be paid to creditors pro-rata under the plan:

                  A.        $1,779.43 for months     1    to    5 ;
                  B.         $ 367.65 for months     6    to    60 ; in order to pay the following creditors:

Administrative:        Attorney's Fee and Costs - $3,500.00 (Base Chapter 13 Fee)
                                                   $2,500.00 (fee for MMM program, total $2,500.00)
                                                   $ 525.00 (fee for Motion to Value)
                       Total Attorney’s Fees -     $6,525.00
                       Amount Paid-(Pre-petition) ($    0.00)
                       Balance Due Though Plan $6,525.00        payable $1,305.00/month (Months 1 to                5 )

Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal
Property: None

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM
IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 and LR 3015-3.


             Secured Creditor                 Description of           Interest       Plan       Months         Total Plan
                                              Collateral and             Rate       Payments        of          Payments
                                            Value of Collateral                                  Payment
 Ally Financial                           2011 Buick Enclave CXL
 P.O. Box 130424                          VIN: 8044
 Roseville, MN 55113-0004                 Value: $14,000              6%          $270.66        1 to 60        $16,239.66
 Acct: 2122                               (POC 3)

Priority Creditors: [as defined in 11 U.S.C. §507]:
1. Internal Revenue Service                                    Total Due $3,656.25
P.O. Box 7346                                                  Payable $ 42.00/month (Months 1 to 5)
Philadelphia, PA 19101-7346                                    Payable $ 63.57/month (Months 6 to 59)
Acct: 9783 (POC 4)                                             Payable $ 13.47/month (Months 60 to 60)
Unsecured Creditors: Pay       $ 0.00/month (Months 1 to 59 );
                        Pay    $50.00/month (Months 60 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
Other Provisions Not Included Above:
    1. Debtor will treat creditor, Nationstar Mortgage, LLC (Acct. No. 5584, POC 5), directly outside the plan by
       either selling, refinancing, curing, applying for loan modification or defending against any foreclosure
       action with any possible defenses available. In the event of any of the aforesaid remedies occurring,
       debtor will modify the plan accordingly. Debtor further agrees to relief from the stay for said creditor as
       the debtor is not treating the creditor in the Chapter 13 plan.




LF-31(rev. 1/08/10)
                      Case 17-14149-EPK         Doc 59     Filed 09/25/17      Page 2 of 2



    2. Debtor shall provide copies of yearly income tax returns to the Trustee no later than May 15 th during the
       pendency of the Chapter 13 case. In the event the Debtor’s income or tax refunds increase, Debtor
       shall increase payments to unsecured creditors over and above payments provided through the Plan up
       to 100% of allowed unsecured claims.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

/s/ Jeffrey H. Tromberg, Esq.
For: Rocke Andre Evans, Debtor.
Date: September 25, 2017.




LF-31(rev. 1/08/10)
